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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

Rosa M. Cáez Fermaint and Felix F. CIVIL NO.: 15-3050
Rodriguez Mercado and the Conjugal
Partnership.                       Re: Employment Discrimination
                                   Trial By Jury Demanded
Plaintiffs

v.

State Insurance Fund Corporation, X,
Y and Z

Defendant


                 COMPLAINT AND DEMAND FOR JURY TRIAL

TO THE HONORABLE COURT:

           Come now plaintiff, Rosa M. Cáez Fermaint and Felix F. Rodriguez

Mercado and the Conjugal Partnership, represented by their undersigned

counsel and very respectfully allege and pray as follows:

      1.     This Court has federal question jurisdiction based upon the

Americans with Disabilities Act, “(“ADA”), 42 U.S.C. 42 U.S.C. Sections 12101

et seq., as amended by the “Americans with Disabilities Amendments Act”,

(“ADAA”), and under 28 U.S.C. 1331, 1343, 2201 and 2202.

      2.     Plaintiffs hereby invoke this Court’s supplementary jurisdiction to

entertain local law claims arising under the same set of operative facts. The

local law claims in this action are based upon Puerto Rico Law No. 44 of July 2,

1989, as amended, and Puerto Rico Law No. 53 of August 30, 1993, 1 Laws of

P.R. Anno. 501 et seq, (“Puerto Rico Disabilities Law”); Puerto Rico Anti-



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Reprisal Act, 29 Laws of P.R.Anno. 194 et seq., (“Puerto Rico Anti-Reprisal

Act”), and Articles 1802 and 1803 of the Puerto Rico Civil Code.

      3. The applicable administrative remedies have been exhausted. The

Equal Employment Opportunity Commission issued the corresponding Right-

To-Sue Letter. This action is filed within 90 days period from receipt of said

notice of right to sue.

      4.     The proper venue is in this Court.

      5.     Plaintiff, Rosa M. Caez Fermaint, (“Caez”), (U.S. citizen), is of legal

age, and resident of Puerto Rico and has been a full time employee of the State

Insurance Fund Corporation (hereinafter “SIFC”) for more than twenty seven

(27) years. She holds a position as a Graduate Nurse IV, in the Emergency

Room of SIFC offices located in Arecibo, Puerto Rico since January 26, 1988.

Caez is married to plaintiff, Félix F. Rodríguez Mercado, (“Rodríguez”).

Rodríguez claims in this action his own damages by virtue of a claim under

local law derivative of Caez’ statutory federal and local law claims.

      6.     Defendant SIFC is a public corporate entity created by Law of the

Commonwealth       of     Puerto   Rico,     totally     autonomous   from   the   central

Government and has legal capacity to sue and be sued in a court of law. It

generates its own funds and its not dependent upon the Government of Puerto

Rico to fund its operations.

      7.     SIFC is dedicated to insuring workers and providing workers’

compensation insurance policies within the Commonwealth of Puerto Rico.




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      8.    At all times relevant to this case, SIFC has been an employer

within the meaning of ADA and all local laws invoked in this action. It has

employed more than twenty-five (25) persons during the relevant time.

      9.    Insurance Companies X, Y and Z are insurance companies that

have issued policies that cover the occurrences relevant to this case; Its

identity and true name unknown at this time.

      10.   Plaintiff, Caez, is and individual covered by the ADA, and the local

legislation invoked in this action. Caez has a medical condition or disability

that substantially limits her in one or more of her daily living activities; she

had been regarded by her employer as being so limited; and there is a record of

said condition and as such protected by the disabilities laws.

      11.   Caez started to work with SIFC on January 26, 1988

      12.   Since   2005    she   was    diagnosed   with   Panic   Disorder   and

Generalized Anxiety Disorder. Later, she was diagnosed with Claustrophobia.

She was treated with prescription drugs and therapy. The side effects of her

treatment causes her additional limitations to her daily activities, included,

drowsiness; loss of appetite; headaches; weight loss; nervousness. Medication

for her condition is extremely addictive.

      13.    Due to her conditions and related treatments Caez requested and

was granted in 2008 a reasonable accommodation consisting in that she was

not to work in enclosed spaces. The Nurses’ Station in the External Clinic,

(“EC”), of the SIFC were enclosed spaces. She was to work in the Emergency

Room (“ER”) and was not going to alternate between the External Clinic.


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       14.    On December 2013, Caez was informed that her accommodation

was eliminated and that she had to start alternating between the ER and the

EC. She pleaded to her supervisors not to eliminate the accommodation, but to

no avail. In February 5, 2014 she asked for a reconsideration and the SIFC

referred her to a Medical Evaluation by a Forensic Psychiatrist, she was

evaluated in May 20, 2014.

       15.   On September 29, 2014 the SIFC notified Caez that after

evaluating her request for accommodation Caez, the same was denied.

       16.   On July 4th, 2014, Dr. Raul M. Lopez, Forensic Psychiatrist

engaged by SIFC to evaluate Caez, issued his report. He diagnosed Caez with

Panic Disorder with Claustrophobia. In his opinion she was not to work in

enclosed spaces and recommended so as a reasonable accommodation.

       17.    Caez was posted on at the External Clinic where the Nurses’

Station were small enclosed spaces. Caez suffered a panic attack in that area

for which she had to take a medical leave.

       18.   Caez asked again for reasonable accommodation and she was

ordered to do her work from the offices of the physicians’ or the Nurses’

Supervisor. They are both enclosed spaces.                The physicians’ offices were

somehow bigger that the Nurse’ stations, but still closed spaces. SIFC did not

give   her   the   necessary   equipment      to     do   her   work.   There   was   no

sphygmomanometer                (the               instrument            to           for

measuring blood pressure in an artery), nor thermometers provided, among

many others instruments and equipment.


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        19.   Since Caez was not provided with the necessary instruments to do

her job, even though she constantly requested them, she could not do her work

and could not fill the patient’s vitals in their clinical records. Then SIFC

retaliated against her by admonishing her and was summarily suspended her

from work (with pay) for four (4) months without following SIFC’s rules. The

SIFC then suspended her for another four (4) months without pay, (from

February 2014 to October 2014).

        20.   When she returned to the workplace she requested accommodation

again because she was suffering from panic attacks almost daily due to the

closed space she was assigned.

        21.   She was sent again to the Forensic Psychiatrist. Dr. Lopez. Dr.

Lopez’ Opinions, were the same, and his recommendation remained that she

was not to work in reduced spaces. Dr. Lopez’ report was issued on February

2015.

        22.   To this date the SIFC its yet to answer Caez’ reasonable

accommodation request.

        23.   On May 22, 2015 the SIFC issued a letter addressed to Caez with

the intention to terminate her from her job. The SIFC has applied their rules

and regulations in a manner different and discriminatorily against Caez.

        24.   Caez filed charges of discrimination before the Equal Employment

Opportunity Commission (“EEOC”) and the Puerto Rico Antidiscrimination Unit

(“ADU”).      Due to said filing the SIFC took adverse employment action,




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including, the notification of a letter to Caez with the intention to terminate her

from work.

      25.    SIFC intends to terminate Caez due to her conditions or disabilities

and in retaliation for having availed herself to the protection of the federal civil

local legislation invoked in this case; for having filed charges of discrimination

with the local and federal agencies; and for opposing the SIFC illegal action.

      26.    Caez is substantially limited in several of her major life activities

when compared to the average person.          Caez’ claustrophobia causes her to

panic and loses her ability to think, to concentrate; and to perform manual

tasks, among others.     Panic attacks causes her to lose her ability to think

rationally and obviously impedes her from performing her tasks as a Nurse.

Caez is often unable to perform even the simplest manual tasks and becomes

consumed with the notion of getting out of the claustrophobic environment as

quickly as possible.     The following circumstances aggravate her condition:

confined spaces; crowds; elevators; and others. Her condition is ongoing and

permanent.     As previously stated, her prescribed medication causes her

additional limitating effects.

      26.    Her limitations include the manner and duration to perform the

mentioned activities. These limitations are substantial when compared to the

average person.

      27.    The plaintiff attempts to do all of her major life activities but needs

to cease because of her condition.




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      28.   Defendant conduct has caused Caez past and present damages of

economic nature and mental pain and suffering and bodily injury.

      29.   Defendants action were willful and in disregard to Caez’s protective

rights under federal and local law.

      30.   Trial by jury is demand. The following remedies are requested:

      A. To enter declaratory judgment stating that the acts complained herein

are in violation of the federal and local legislation invoked here.

      B. To declare that defendant retaliated against Caez. To declare that

defendant failed to accommodate Caez. To declare that Caez was denied equal

treatment due to her conditions for having availed to her statutory protected

benefits and for filing charges of discrimination with local and federal agencies.

      C. That Caez be compensated for all her economic (back and front pay

and loss of benefits) and mental suffering and anguishes, bodily injuries and

other damages mentioned in this Complaint, in a sum not less than

$1,000,000.00. Front pay is claim only if it is determined the reinstatement is

not practicable. Reinstatement is the desired remedy here in case that

Defendant continues with its intention to terminate Caez. That Rodríguez be

awarded compensatory damages due to his sufferings.

      D. That compensatory, punitive, liquidated, and any other type of

damages applicable be imposed.

      E. That damage be doubled as mandated by local law.

      F. That attorney’s and expert’s fees be awarded.

      G. That pre-judgment and post judgment interests be imposed.


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     H. That cost and all litigation expenses be taxed.

     I. That back and front pay be awarded.

     J. That all benefits lost be compensated. Caez requests damages

resulting from loss of medical plan benefits; insurance package and life

insurance.

     RESPECTFULLY SUBMITTED.

     In San Juan, Puerto Rico, this 9th day of December of 2015.


                                                 S/ Enrique J. Mendoza Mendez
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